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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                 Case No. 3:15cr69/MCR

APRIL S. VASQUEZ
______________________________/

                  ACCEPTANCE OF PLEA OF GUILTY

     Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, the plea of

guilty of the Defendant, APRIL S. VASQUEZ, to Counts One and Two of the

Indictment is hereby ACCEPTED. All parties shall appear before this Court

for sentencing as directed.

     DONE and ORDERED this 28th day of December, 2015.



                              s/   M. Casey Rodgers
                              M. CASEY RODGERS
                              CHIEF UNITED STATES DISTRICT JUDGE
